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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                  Plaintiff,

       v.                                   CRIMINAL NO. 1:06CR67-2
                                                 (Judge Keeley)

 CRYSTAL DAWN MARTIN,

                  Defendant.



            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING



       On November 13, 2006, defendant, Crystal Dawn Martin, appeared

 before United States Magistrate Judge John S. Kaull and moved this

 Court for permission to enter a plea of GUILTY to count six of the

 Indictment. The defendant stated that she understood that the

 magistrate   judge   is     not   a   United   States   District   Judge,     and

 consented to pleading before the magistrate judge.             This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering    the    allocution    pursuant     to   Federal   Rule    of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and the testimony of Trooper J. W. Smith, the magistrate judge

 found that the defendant was competent to enter a plea, that the

 plea was freely and voluntarily given, that the defendant was aware

 of the nature of the charges against her and the consequences of
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 her plea, and that a factual basis existed for the tendered plea.

 On December 14, 2006, the magistrate judge entered an order finding

 a factual basis for the plea and recommending that this Court

 accept the plea of guilty to count six of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.          Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 AFFIRMED and ACCEPTS the plea of guilty to count six of the

 Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 count six.      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G.

 §   6B1.1(c),    acceptance   of   the    proposed   plea   agreement    and

 stipulated addendum to the plea agreement, is DEFERRED until the

 Court has received and reviewed the presentence report prepared in

 this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:




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       1.     The       Probation      Office     undertake       a    presentence

 investigation of CRYSTAL DAWN MARTIN and prepare a presentence

 report for the Court;
       2.     The Government and the defendant are to provide their

 versions of the offense to the probation officer by January 19,

 2007;

       3.     The    presentence      report    is    to   be   disclosed   to    the

 defendant, defense counsel, and the United States on or before

 February 19, 2007; however, the Probation Officer is directed not

 to   disclose      the   sentencing     recommendations        made   pursuant    to

 Fed. R. Crim. P. 32(b)(6)(A);

       4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

 report     and   may     file   a   SENTENCING      MEMORANDUM   that    evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 March 5, 2007;

       5.     The Office of Probation shall submit to the Court the

 presentence report with addendum on or before March 15, 2007; and

       6.     Sentencing is set for March 28, 2007 at 12:15 p.m.

       7.     The Court remanded the defendant to the custody of the

 United States Marshals.

       It is so ORDERED.

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       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: January 4, 2007



                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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